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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Juan Hernandez, et al.

v.                                           Case Number: 4:16−cv−03577

City Of Houston




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Kenneth M Hoyt
PLACE:
Courtroom 11A
United States District Court
515 Rusk Ave
Houston, TX
DATE: 3/18/2021

TIME: 01:00 PM
TYPE OF PROCEEDING: Preliminary Approval/Fairness
Order − #188


Date: March 11, 2021
                                                         Nathan Ochsner, Clerk
